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                                                                                                         Revised July 2012
                   United States District Court for Western District of Tennessee
                     MOTION FOR LEAVE TO APPEAR PRO HAC VICE

 Case Title
  Plaintiff
  Jessica Jones, et al.
  Defendant
  Varsity Brands, LLC et al.
  Case Number                                                 Judge
  2:20-cv-02892-SHL-cgc                                      Sheryl H. Lipman

    Jennifer Kennedy Park
 I, _______________________________________________________                                hereby apply to the United
 States District Court for the Western District of Tennessee, pursuant to Local Rule 83.4(d), for
 permission to appear and participate in the above-entitled action on behalf of
 __________________________________________________
  9DUVLW\%UDQGV//&9DUVLW\6SLULW//&DQG9DUVLW\6SLULW)DVKLRQV 6XSSOLHV by whom I have been retained.
  //&

  I am a member of good standing and eligible to practice before the following courts:
                                    Title of Court                                             Date Admitted

                   New York, Second Department                                                   2/11/2004
  United States District Court, Southern District of New York                                    5/18/2004
  United States District Court, Eastern District of New York                                     8/15/2007


 I certify that I subject myself to the jurisdiction of the United States District Court for the
 Western District of Tennessee and have obtained and have familiarized myself with and agree
 to be bound by the Western District of Tennessee Local Rules, Tennessee Supreme Court Rule 8
 (Rules of Professional Conduct) and the Guidelines of Professional Courtesy and Conduct.

 Please find attached a certificate of good standing from the highest Court of a state or the
 District of Columbia, and from a United States District Court.

 A proposed order, in word processing format, granting this Motion will be emailed to the ECF
 mailbox of the presiding judge.




     The pro hac vice admission fee is $10.00 that shall be paid to the Clerk of Court through
                    the Court’s Electronic Case Filing System ’s pay.gov feature.




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 I hereby certify that the information provided below is true and accurate:
  Applicant’s Last Name            First Name                           Middle Name/Initial

 Park                              Jennifer                            K.
  Applicant’s Firm Name
                          Cleary Gottlieb Steen & Hamilton LLP
  Applicant’s Address                                                     Room/Suite Number
  1 Liberty Plaza

  City
         New York                                    State
                                                             NY                    Zip Code
                                                                                              10006
  Applicant’s Email Address
               jkpark@cgsh.com
  Applicant’s Phone Number(s)
                                +1 212 225 2357
                                      Certificate of Service

 I hereby certify that a true and correct copy of the foregoing pleading has been served
 via the Court’s Electronic Case Filing system to the following:


  Van Turner, vturner@bruceturnerlaw.net
  Joseph Saveri, jsaveri@saverilawfirm.com




                                   Certificate of Consultation


  I hereby certify that co-counsel, Steven Kaiser, conferred with Plaintiffs’ counsel and
  counsel has raised no objections to this motion.




  Date                                               Electronic Signature of Applicant
         11/3/2021                                         Jennifer Kennedy Park
                                                     S/



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